Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 1 of 19 PageID 6600



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
 HEALTHPLAN SERVICES, INC.,
      Plaintiff,
 v.                                                  CASE NO.: 8:18-cv-02608-SDM-AAS
 RAKESH DIXIT, et al.,
      Defendants.
 ________________________________/

      PLAINTIFF’S OPPOSED MOTION FOR SPECIFIC FEES AND COSTS PURSUANT
                     TO JANUARY 24, 2020 ORDER [ECF NO. 252]

         Pursuant to Fed. R. Civ. P. 37 and L.R. 3.04(a), Plaintiff, HealthPlan Services, Inc.

 (“HealthPlan”), by and through its undersigned counsel, for good and just cause, respectfully

 moves this Court to compel Rakesh Dixit, KnowMentum, Inc., and Media Shark Productions, Inc.

 (collectively the “Dixit Defendants”), to pay HealthPlan’s fees and costs pursuant to the January

 24, 2020 Order, ECF No. 252 (the “Order”). In support of this Motion, HealthPlan states as

 follows:

         Pursuant to the Order, the Court granted HealthPlan its reasonable attorneys’ fees in

 connection with preparing its Motion to Compel, ECF No. 248. Order, para. 12. The Court further

 granted HealthPlan its reasonable expenses incurred in connection with work done by its forensic

 expert, Epiq Discovery Solutions, Inc., between December 23, 2019 and January 24, 2020. Id.

         A reasonable attorney fee is calculated by multiplying the number of hours reasonably

 expended by the reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

 A “reasonable hourly rate” is “the prevailing market rate in the relevant legal community for

 similar services by lawyers of reasonably comparable skills, experience, and reputation.” Norman

 v. Housing Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). In determining the

 reasonable amount of hours, the Court may conduct an hour-by-hour analysis or it may reduce the

                                                1
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 2 of 19 PageID 6601



 requested hours across the board. Bivins v. Wrap It Up, Inc., 548 F.3d 1348, 1350 (11th Cir. 2008).

 The party requesting the fee should submit documentation in support of the request. Hensley, 461

 U.S. at 433. Nonetheless, the Court “is itself an expert on the question and may consider its own

 knowledge and experience concerning reasonable and proper fees and may form an independent

 judgment either with or without the aid of testimony of witnesses as to value.” Campbell v. Green,

 112 F.2d 143, 144 (5th Cir. 1940).

         HealthPlan incorporates by reference Sections II-III of its Motion for Specific Fees and

 Costs, 2-5, ECF No. 206, and the affidavit attached thereto, which relate to the reasonableness of

 the hourly rates of its attorneys. Based on the Order, HealthPlan presents the following attorneys’

 fees and hours incurred by HealthPlan in preparing its motion, as well as HealthPlan’s reasonable

 expenses incurred in connection with work done by its forensic expert, Epiq Discovery Solutions,

 Inc. (“Epiq”), between December 23, 2019 and January 24, 2020:

     Attorney                              Hours1             Reduced Hourly Amount
                                                              Rate2
     William Frankel, Shareholder            5.0               $550            $2,750
     Alejandro Fernandez,                    31.3              $400            $12,520
     Shareholder
     Stephen Leahu, Senior                   1.2                $3253                     $390
     Associate
     Cindy Lovell, Paralegal                 1.4                $125                      $175
     Epiq’s Invoices                                                                      $13,928.13
     Costs/Expenses for Forensic
     Collection, Preservation and
     Analysis of Laptop and
     External Hard Drive Between



 1
   The hours identified in the chart reflect time spent on tasks related to the Motion to Compel, ECF No. 248. The
 hours are based on the redacted invoice attached as Exhibit 1.
 2
   The reduced hourly rate is based on the amount set by the Court as reasonable in the December 20, 2019 Order
 granting Plaintiff attorneys fees (ECF 234).
 3
   Mr. Leahu is a senior associate, who graduated from law school in 2007. He has more than 10 years of litigation
 experience. Given his experience level is between Ms. Christou’s ($250 per ECF 234) and Mr. Fernandez ($400 per
 ECF 234), HealthPlan has set his rate for purposes of this motion at $325 per hour in line with the Court’s previous
 order (ECF 234).

                                                          2
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 3 of 19 PageID 6602



      Dec. 23, 2019 and January 24,
      20204
      Federal Express charges                                                   $134.69
      Expenses covering laptop                                                  $24.95
      shipping box
      Search charges                                                            $44.30
      Total                                     38.9                            $29,967.07

            HealthPlan respectfully submits that it expended at least 38.9 hours in addressing the

 discovery issues relevant here. An attorney should exercise proper “billing judgment” and exclude

 those hours that would be unreasonable to bill a client or opposing counsel. Duckworth v.

 Whisenant, 97 F.3d 1393, 1397 (11th Cir. 1996), citing Norman, 836 F.2d at 1301. Here,

 HealthPlan incurred hours meeting and conferring with the Dixit Defendants’ counsel,

 memorializing such meetings to ensure accountability of Dixit Defendants, coordinating with

 forensic experts, researching and drafting an extensive, and ultimately successful, 12 page motion

 supported by citations to authorities, hearing transcripts and correspondences.

            Accordingly, pursuant to the Order, HealthPlan moves this Court for an order that the Dixit

 Defendants immediately pay HealthPlan $29,967.07 in reasonable attorneys’ fees and expert

 expenses.


 Dated: February 3, 2020                                   Respectfully Submitted,

                                                           /s/Andrew J. Avsec___

                                                           Andrew J. Avsec
                                                           (IL ARDC No. 6292313)
                                                           Admitted Pro Hac Vice
                                                           William H. Frankel
                                                           (IL ARDC No. 3127933)
                                                           Admitted Pro Hac Vice
                                                           BRINKS GILSON & LIONE
                                                           NBC Tower, Suite 3600
                                                           455 N. Cityfront Plaza Drive
                                                           Chicago, Illinois 60611
 4
     Epiq’s invoice is attached as Exhibit 2.

                                                       3
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 4 of 19 PageID 6603



                                                     aavsec@brinksgilson.com
                                                     wfrankel@brinksgilson.com
                                                     Telephone: (312) 321-4200
                                                     Facsimile: (312) 321-4299

                                                     Attorneys for Plaintiff
                                                     HealthPlan Services, Inc.



                                 CERTIFICATE OF SERVICE
        I HEREBY certify that on February 3, 2020, I electronically filed the foregoing document

 with the Clerk of the Court CM/ECF.


                                            /s/ Andrew J. Avsec
                                            Andrew J. Avsec




                                                 4
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 5 of 19 PageID 6604
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 6 of 19 PageID 6605
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 7 of 19 PageID 6606
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 8 of 19 PageID 6607
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 9 of 19 PageID 6608
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 10 of 19 PageID 6609
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 11 of 19 PageID 6610
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 12 of 19 PageID 6611
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 13 of 19 PageID 6612
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 14 of 19 PageID 6613
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 15 of 19 PageID 6614
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 16 of 19 PageID 6615
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 17 of 19 PageID 6616
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 18 of 19 PageID 6617
Case 8:18-cv-02608-SDM-AAS Document 260 Filed 02/03/20 Page 19 of 19 PageID 6618
